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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS
DELTA DIVISION
DARREN SMITH PLAINTIFF
V. CASE NO. 2:20CV12DPM
CITY OF FORREST CITY, ARKANSAS, a
MUNICIPAL CORPORATION; DEON LEE,
Individually and as Chief of Forrest City Police
Department; CEDRIC WILLIAMS, Individually and
As Mayor of the City of Forrest City, Arkansas DEFENDANTS
AGREED PROTECTIVE ORDER

Plaintiff has requested discovery of records containing sensitive personal information. In
order to permit Plaintiff adequate access to the records necessary to completely present this case
herein, and, at the same time to address privacy concerns, it is hereby ORDERED, ADJUDGED
and DECREED as follows:

1. Plaintiff has made a request for information contained in the personnel files of
employees of the Forrest City Police Department, including but not limited to, payroll information,
internal investigation records, disciplinary actions, and training records and other sensitive
information. The parties have agreed that due to the private and sensitive nature of these said
documents, a protective order should be entered before these documents are provided to Plaintiff's
counsel;

2. Defendants are not required to provide the personnel files until this Order is entered;

3. All confidential records made available pursuant to this Order shall be used only

for the purpose of this litigation and may not be used for any other purpose without a new request;
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4. If any dispute arises about confidentiality or materials subject to this Order, the
parties will address it using the Discovery Disputes procedure in the Court’s Final Scheduling
Order;

5. No party may utilize, directly or indirectly, the confidential records made available
pursuant to this Order in another administrative complaint, proceeding, or civil action without a
new request;

6. All confidential records made available pursuant to this Order shall be maintained
by the parties’ counsel, including paralegals, secretarial staff, other staff members, during the
pendency of this litigation;

7. Information designated as “Confidential” must not be filed on the public docket. If
practicable, it should be redacted. Fed. R. Civ. P. 5.2. If an entire page contains information
designated as “Confidential,” substituting a page marked “Redacted” is an acceptable redaction
method. If redaction is impracticable, a party must move for permission to file any information
designated as “Confidential” and a related motion, brief, or paper, containing that material under
seal. The moving party must justify sealing with specifics and solid reasons, including an
explanation about why redaction cannot be done;

8. Both parties, all counsel and their staffs, shall not transfer the confidential
information made available pursuant to this Order, or copies of this information, to third persons,
and they shall not communicate, orally or in writing, any of the contents of the confidential
information;

9. This Order shall remain in effect for one year after this case ends, including any
appeal. Thereafter, the obligations imposed shall continue, but shall be solely a matter of contract

between the parties. Upon termination of this case, the parties shall return to their respective
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counsel all confidential documents, material, and deposition transcripts and all copies of same or
shall certify the destruction thereof. Counsel for the parties shall be permitted to retain confidential
information in their files, subject to the terms of this Order;

10. This Protective Order shall govern all pre-trial proceedings, but shall be subject to
modification either before, during or after the trial on the merits, upon application of any of the
parties to this lawsuit and for good cause shown; and

11. The parties agree that any documents or materials subject to production under the
Arkansas Freedom of Information Act cannot be deemed confidential.

IT IS SO ORDERED.

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WWENSL CM Yo:

Hon. D.P. Marshall
United States District Judge

 

 

 

 

 

 

Date
Approved as to form:
/s/ Sara Monaghan /s/ Douglas M. Carson
Sara Monaghan, ABN No. 2005276 Douglas M. Carson
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